IN THE UNITED STA'I‘ES BANKRUPTCY COURT

DISTRICT OF KANSAS
)
In re: ]
) Case No. 16~21142
JOHN Q. HAMMONS FALL 2006, LLC, et al., ) (Lead Case)
)
Debtors. ) Chapter 1 l
)

MODIFIED AMENDED JOINT AND CONSOLIDATEI) CHAPTER ll PLANS OF
REORGANIZATION F()R ALL DEBTORS FILED BY CRE})I'I`OR
JD HOL])INGS, L.L.C.

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INTRODUCTION

JD Holdings1 hereby proposes the following plans of reorganization for the resolution of
outstanding claims against, and equity interests in, all Debtors pursuant to title 11 of the United
States Code, 11 U.S.C. §§ 101-1532.2 Schedule 1 sets forth a list of each Debtor,

As detailed below, these Plans provide for the Sale of the Assets to JD Holdings and
payment in full of all Ailowed Claims against Debtors (except to the extent a Holder of an
Allowed Clairn agrees to an alternative treatment) upon the Effective Date of the Pians or as
soon thereafter as is practicable, with JD Holdings subordinating its Claims arising from the
ROFR to all other Allowed Claims. In addition, ID Holdings will contribute assets to a new
Charitable Trust to honor Mr. Hamrnons’ charitable intent (in an amount that will increase if
Debtors cooperate in Confirmation and implementation of the Pians), even though such
beneficiaries have not been identified, do not have standing under the Banlduptcy Code, and are
not parties in interest.

There are no contingencies to the implementation of these Plans after Confirmation.

ARTICLE I.
DEFINED TERMS, RULES OF INTERPRETATION,
COMPUTATION OF TIME, AND GOVERNING LAW

A. Dejinea’ Terms
The following capitalized terms shall have the following meanings when used herein:

l. “2005 Transaction” means the transaction in 2005 entered into by l\/lr.
Hammons, JQH Trust, and certain of their Affiliates, in which, among other things, Jonathan
Eiiian and his Affiliates took private John Q. Hammons Hotels, Inc., a publicly traded company.

2. “Administrative Claim” means a Clairn for costs and expenses of administration
pursuant to sections 503(b), 507(a)(2), 507(b), or 1114(e)(2) of the Bankruptcy Code, including:
(a) the actual and necessary costs and expenses incurred after the Petition Date and through the
Effective Date of preserving the Estates and operating the businesses of the Debtors (including
Wages, salaries, or commissions for services, and payments for goods and other services and
leased premises); (b) compensation for legal, financial advisory, accounting, and other services,
and reimbursement of expenses pursuant to sections 328, 330(a), 331, or 332 of` the Bankruptcy
Code or otherwise for the period commencing on the Petition Date and ending on the Effective
Date, including Prof`essional Compensation Claims; (c) all fees and charges assessed against the
Estates pursuant to chapter 123 of the Judicial Code, including the U.S. rfrustee Fees; and (d) all
requests for compensation or expense reimbursement for making a substantial contribution in the
Chapter li Cases pursuant to sections 503(b)(3), (4), and (5) of the Banl<ruptcy Code.

 

1 Capitalized terms are defined in Article I hereof
2 In an abundance of caution, JD Holdings states that the submission of these Plans is not intended to be, and should
not be construed as, an admission that venue in the Banltruptcy Court is proper with respect to any current or future
proceedings that may arise in connection with the Chapter ll Cases, the 2005 Transaction, or the ROFR. Upon
consummation of the Sale of the 27 hotefs being financed by the Sale Lender, JD Holdings' objections to venue in
the Bankruptcy Coul“t shall be deemed withdrawn

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3. “Administrative Claims Bar Date” means the deadline for filing requests for
payment of Administrative Claims, which shall be thirty (30) days after the Effective Date.

4. “Affiliate” has the meaning set forth in section 101(2) of the Bankruptcy Code.

5. “Allowed” means any Claim that (a) is evidenced by a Proof of Ciaim that has
been timely Filed by the applicable Ciaims Bar Date, or is not required to be evidenced by a
Proof of Claim under the Banl<ruptcy Code or a Final Order, (b) is listed on the Schedules as of
the Effective Date as not contingent, not unliquidated,_ and not disputed, and for which no Proof
of Claim has been timely Filed, (c) has been compromised, settled, or otherwise resoived
pursuant to the authority granted to the Debtors by a Final Order, or (d) is Ailowed pursuant to
the Plans or a Final Order; provided, however, that with respect to any Claim described in
clauses (a) or (b) above, such Claim shall be considered Allowed only if, and to the extent that,
with respect to any Claim, (1) no objection to the allowance of such Claim, request for
estimation, motion to amend the Schedules, or other challenge of such Claim has been made by
the Claims Objection Bar Date, or (2) such objection, request, motion or challenge is made and
the Claim is Allowed for distribution purposes by a Final Order. Any Claim that has been or is
hereafter listed on the Schedules as contingent, unliquidated, or disputed, and for which no Proof
of Claim has been timely Filed, is deemed Disaliowed and shall be expunged Without further
action by the Debtors and without any further notice to or action, order, or approval of the
Bankruptcy Court. Notwithstanding the foregoing or anything else to the contrary herein, no
Claim of any Entity subject to section 502(d) of the Banl<ruptcy Code shall be deemed Aliowed
unless and until such Entity pays in full the amount that it owes the Debtors.

6. “APA” means the Asset Purchase Agreement for the sale of the Assets between
Debtors, as sellers, and JD Holdings, as purchaser.

7. “Assets” means all title, rights, interests and other forms of ownership of the
Debtors of any nature in property of any kind, whether vested or contingent, wherever located,
including all real property, personal property (both tangible and intangible), cash, Causes of
Action, and Equity Interests held by any Debtor in any other Debtors or JQH Non“Debtor
Entities.

8. “Assumed Agreements” means all of the Executory Contracts and Unexpired
Leases of Debtors other than Rejected Executory Contracts and Unexpired Leases to be (a)
assumed by the Debtors and assigned to JD Holdings, or (b) assumed and retained by Debtors.

91 “Assumed Liabilities” means any liabilities of the Debtors to be (a) assumed by
JD Holdings pursuant to the APA, or (b) retained by the Debtors.

10. “Assumed Loans” means those loans to be identified in the Pians Supplement to
be reinstated, as necessary, and assumed by JD Holdings pursuant to the terms of the underlying
loan agreement(s) and/or an agreement between JD Holdings and the applicable lender or its
authorized representative

11. “Avoidance Actions” means any and all actual or potential claims and causes of
action to avoid a transfer of property or an obligation incurred by the Debtors pursuant to any
applicable section of the Banl<ruptcy Code, including sections 502, 510, 542, 544, 545, 547-553,

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and 724(a) of the Bankruptcy Code, or under similar or related state or federal statutes and
common law, including fraudulent transfer laws.

12. “Bankruptcy Code” means title 11 of the United States Code, 11 U.S.C. §§ 101-
1532, as applicable to the Chapter il Cases, as may be amended from time to time.

13. “Bankruptcy Court” means the United States Banl<ruptcy Court for the District
of Kansas.

14. “Bankruptcy Rules” means the Federal Rules of Bankruptcy Procedure, as
applicable to the Chapter 11 Cases, promulgated under section 2075 of the Judicial Code and the
general, local, and chambers rules of` the Bankruptcy Court.

15. “Business Day” means any day, other than a Saturday, Sunday, or “iegal holiday”
(as defined in Banl<ruptcy Rule 9006(a)).

16. “Cash” means the legal tender of the United States of America.

17. “Causes of Action” means any claim, cause of action, controversy, demand,
action, suit, defense, offset, setoff, counterclaim, recoupment, power, privilege or license of any
kind or character whatsoever, known, unl<nown, contingent or non-contingent, matured or
unmatured, suspected or unsuspected, liquidated or unliquidated, disputed or undisputed, secured
or unsecured, assertable directly or derivatively, Whether arising before, on, or after the Petition
Date, in contract or in tort, in law or in equity, or pursuant to any other theory of laW, including:
(a) the right to object to Claims; (b) any claim pursuant to section 362 of the Bani<ruptcy Code;
(b) any claim or defense including fraud, mistal<e, duress, and usury and any other defenses set
forth in section 558 of the Bankruptcy Code; (d) any Avoidance Actions; (e) indemnification,
reimbursement or recovery under any insurance policies; and (e) any cause of action to be
identified in any Plans Supplement.

18. “Chapter 11 Cases” means fn re John Q. Hammons Fa'll 2006, LLC, et al., Case
No. 16-21142.

19. “Charitable Trust” means a new charitable trust to be established by JD
Hoidings to honor the charitable intent of Mr. Hammons.

20. “Claim” means any claim against a Debtor as defined in section 101(5) of the
Banl<ruptcy Code. `

21. “Claims and Solicitation Agent” means BMC Group, Inc., the notice, ciaims,
solicitation, and balloting agent retained by the Debtors in the Chapter 11 Cases.

22. “Claims Bar Date” means, with reference to a Claim, the date by which Proof`s of

Claim must be or must have been Filed with respect to such Claim, as ordered by the Banlcruptcy
Court pursuant to the Claims Bar Date Order or another Final Order.

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23. “Claims Bar Date Order” means the Order (B Establfshr'ng Bar Datesfor Fl'ling
Proofs' of Claim and Interest, (LU Establt'shfng Procedures for Fc'ling Proofs of Claim and
lnterest, and (HI) Approving Farm and Manner ofNotr.`ce Thereof [ECF No. 525].

24. “Claims Objection Bar Date” means the deadline for JD Holdings and other
parties in interest to object to a Claim, other than Administrative Claims (vvhich are addressed
separateiy), which shall be on the date that is the later of` (a) the Effective Date and (b) such later
period of limitation as may be specifically fixed or extended by a Final Order of the Bankruptcy
Court.

25. “Clairns Register” means the official register of Claims maintained by the
Claims and Solicitation Agent.

26. “Class” means a category of Holders of Claims or Equity Interests as set forth in
Article 111 hereof pursuant to section 1122(a) of the Banl<ruptcy Code.

27. “Coilateral” means any property or interest in property of the Debtors subject to
a Lien to secure the payment or performance of a Claim, which Lien is not subject to avoidance
or otherwise invalid under the Bankruptcy Code or applicable non-bankruptcy law.

28. “Confirmation” means the entry of the Confirmation Order on the docket of the
Chapter 11 Cases.

29. “Confirmation Date” means the date upon which the Banl<ruptcy Court enters
the Confirmation Order on the docket of the Chapter 11 Cases, within the meaning of
Bankruptcy Rules 5003 and 9021.

30. “Confirmation Hearing” means the hearing held by the Bankruptcy Court on the
Confirmation of the Plans pursuant to section 1129 of the Banl<ruptcy Code, as such hearing may
be continued from time to time.

31. “Confirmation Hearing Date” means the date of the commencement of` the
Contirmation Hearing.

32. “Confirmation Order” means the order of the Banl<ruptcy Court confirming the
Plans pursuant to section 1129 of the Bankruptcy Code.

33. “Cure Costs” means all amounts (or such lesser amount as may be agreed upon
by the parties under an Executory Contract or Unexpired Lease) required to cure any monetary
defaults under any Executory Contract or Unexpired Lease that is to be assumed and assigned by
the Debtors to JD Holdings pursuant to sections 365 or 1123 of the Bankruptcy Code.

34. “I)ebtor Parties” has the meaning set forth in Article V.
35. “Debtors” means those Entities listed on Scheduie 1.

36. “Debtors Reieased Party” means the Debtors and each of their respective
predecessors, successors and assigns, and each of the current and former officers, directors, and

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employees thereof, and Stinson Leonard Street LLP and Merrick, Baker & Strauss, P.C. (in each
case, in his, her, or its capacity as such).

37. “Delaware Litigation” refers to the matter captioned JD Holdz`ngs, L.L.C. v.
Dowa'y, C.A. No. 7480-VCL, commenced in the Delaware Court of Chancery on May 1, 2012.

38. “Disaflowed” means, as it relates to any Claim, that it (a) has been disallowed
under these Plans, (b) has been found by a Final Order not to be an Allowed Claim, (c) is listed
on the applicable Schedule at Zero or as contingent, disputed or unliquidated and as to which no
proof of claim has been timely Filed, (d) is not listed on the Scheduies and as to which no proof
of claim has been timely Filed, or (e) has been withdrawn

39, “Disclosure Statement” means the written Disclosure Statement that relates to
the Plans, as supplemented or modified from time to time and that is prepared and disseminated
in accordance with Section 1125 of the Banl<ruptcy Code and Rule 3017 of the Bankruptcy
Rules.

40. “Distribution Record Date” means the Confirmation Date.

41. “Effective Date” means a date selected by ID Hoidings that is any Business Day
after the Contirmation Order is a Final Order on which the first closing under the APA occurs.

42. “Entity” has the meaning set forth in section 101(15) of the Bankruptcy Code
which, for avoidance of doubt, shall include a limited liability company.

43. “Equity Interest” means any equity interest (as defined in section 101(16) of the
Bankruptcy Code) in a Debtor or in a JQH Non-Debtor Entity held by a Debtor, including any
issued or unissued share of common stocl<, preferred stock, membership interests in limited
liability companies, general and limited partnership interests in partnerships, or other ownership
interest in a Debtor or JQH Non-Debtor Entity, whether or not transferable or represented by a
certificate, including any option, warrant or right, contractual or otherwise, to acquire any such
interest in a Debtor or JQH Non-Debtor Entity that existed immediately prior to the Effective
Date, any award of stock options, restricted stock units, equity appreciation rights, restricted
' equity, or phantom equity granted to an existing employee of the Debtors JQH Non-Debtor
Entity pursuant to any equity plan maintained by the Debtors or JQH Non-Debtor Entity or under
any existing employment agreement of the Debtors’ or JQH Non-Debtor Entities’ existing
employees, any Existing Shares, and any Claim against any Debtor or JQH Non-Debtor Entity
subject to subordination pursuant to section 510(b) of the Bankruptcy Code arising from or
related to any of the foregoing For the avoidance of doubt, Equity Interest does not include
beneficiai interests in the JQH Trust.

44. “Executory Contract” means a contract to which any Debtor is a party that is
subject to assumption, assumption and assignment, or rejection under sections 365 or 1 123 of the
Banl<ruptcy Code.

45. “Exculpated Parties” means the Debtors Released Parties, the JD Holdings
Released Parties, and the Trustees Released Parties.

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46. “File,” “Filed,” or “Filing” means file, filed, or filing with the Bankruptcy Court
or its authorized designee in the Chapter 11 Cases.

47. “Final Order” means, as applicabie, an order or judgment of the Bankruptcy
Court or other court of competent jurisdiction in the Chapter 11 Cases, Which has not been
reversed, stayed, modified, or amended, and as to which the time to appeal or seek certiorari or
leave to appeal has expired and no appeal or petition for certiorari or motion for leave to appeal
has been timely taken, or as to which any appeal that has been taken or any petition for certiorari
or motion for leave to appeal that has been or may be Filed has been resolved by the highest
court to which the order or judgment was appealed or from which certiorari or leave to appeal
was sought; provided, that the possibility that a motion under Rule 60 -of the Fedcral Rules of
Civil Procedure may be Filed relating to such order shall not prevent such order from being a
Final Order. Notwithstanding the foregoing, JD Holdings shall have the right to waive the
conditions set forth herein with regard to the Confirmation Order, in which case the
Confirmation Order shall be deemed a Final Order for purposes of the Plans and the APA.

48. “General Unsecured Claim” means any Claim against a Debtor that is not one of
the following Claims: (a) Administrative Claim; (b) Priority Tax Clairn; (c) Other Priority Claim;
or (d) Secured Claim.

49. “Governmental Unit” has the meaning set forth in section 101(27) of the
Bankruptcy Code.

50. “Holder” means the Entity holding the beneficial interest in a Claim or Equity
Interest. `

51. “Impaired” means a Class of Claims that is not Unimpaired.
52. “Insider” has the meaning set forth in section 101(31) of the Bankruptcy Code.

53. “JD Hofdings” means JD Holdings, L.L.C., and/or its subsidiary Entities, and/or
its designees (as the context requires).

54. “.]D Hoidings Released Party” means (i) JD Holdings and each of its Affiliates,
and each of their respective predecessors, successors and assigns, and each of the current and
former shareholders, subsidiaries, members (including ex-officio members), officers, directors,
principals, managers, trustees, employees, partners, attorneys, lenders, financial advisors,
accountants, investment bankers, investment advisors, actuaries, professionals, consultants,
agents and representatives of each of the foregoing Entities (in each case, in his, her, or its
capacity as such); and (ii) the Sale Lender. The term “Affiliate” as used in this definition
includes Jonathan D. Eilian and Ronald C. Brovvn, personally, and any Entity in which either of
them has any equity interest, and any trust in which either of them is a grantor, trustee, or
beneficiary

55, “JQH Non-Debtor Entities” means those Entities listed on Schedule 2.

56. “JQH Trust” means The Revocable Trust of John Q. Hammons, dated December
29, 1989, as amended and restated.

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57. “J udicial Code” means title 28 of the United States Code, 28 U.S.C. §§ 1-4001.
58. “Lien” has the meaning set forth in section 101(37) of the Bankruptcy Code,
59. “Non-Hotel Assets” means all Assets of Debtors other than hotels or cash.

60. “Other Priority Claim” means any Claim accorded priority in right of payment
under section 507(a) of the Bankruptcy Code, other than an Administrative Claim or a Priority
Tax Claim.

61. “Outside Effective Date” means the date that is 60 days after the Confirmation
Order becomes a Final Order.

62. “Outside Closing Date” means the date that is 120 days after the Contirmation
Order becomes a Final Order.

63. “Person” has the meaning set forth in section 101(41) of the Bankruptcy Code.
64. “Petition Date” means June 26, 2016.

65. “Plans” mean these Chapter 11 Plans of Reorganizatz`on for all Debtors (as
amended, supplementcd, or modified from time to time in accordance with the terms hereof),
including, the Plans Supplement, which are incorporated herein by this reference. For ease of
reference, the term “Plan” may be used throughout this document in place of “Plans”.

66. “Plans Distribution” means a payment or distribution to Holders of Allowed
Claims or other eligible Entities under the Plans.

67. “Plans Documents” means the documents other than the Plans, to be executed,
delivered, assumed, or performed to consummate the Plans Transactions and implement the
Plans on the Effective Date.

68. “Plans Supplement” means all documents that supplement this Modz'jiea’
Amena’ea’ Joz'nf and Consoll`datea' Chapter ll Plans ofReorgantzatt'on for all Debtors Fz'lea’ by
Crea'z`t`or JD Holdz'ngs, L.L.C. that are Filed no less than seven (7) days prior to the Confirmation
Date.

69. “Plans Transactions” means one or more transactions to occur on or before the
closing dates set forth in the APA or other Plans Documents (as the case may be) or as soon
thereafter as reasonably practicable, that may be necessary or appropriate to effect any
transaction described in, approved by, contemplated by, or necessary or appropriate to effectuate
the Plans, including: (a) the execution and delivery of appropriate agreements or other
documents of merger, amalgamation, consolidation, equity issuance, sale, dissolution,
certificates of incorporation, certificates of partnership, operating agreements, bylaws, or other
documents containing terms that are consistent with or necessary or appropriate to implement the
terms of the Plans and that satisfy the requirements of applicable law; (b) the execution and
delivery of appropriate instruments of equity issuance, conveyance, assignment, assumption,
delegation or other transfer of any property, right, liability, duty, or obligation on terms

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consistent with the terms of the Plans; and (c) all other actions that are consistent with the terms
of the Plans that JD Holdings reasonably determines in its sole discretion are necessary or
appropriate

70. “Priority Tax Claim” means any Claim of a Governmental Unit of the kind
specified in section 507(a)(8) of the Bankruptcy Code.

7l. “Professional” means any Entity employed by a Debtor pursuant to a Bankruptcy
Court order in accordance with section 327, 328, 330, 363, or 1103 of the Bankruptcy Code and
to be compensated for services rendered prior to or on the Effective Date, pursuant to sections
327, 328, 329, 330, 363, and 331 of the Bankruptcy Code or awarded compensation and
reimbursement by the Bankruptcy Court pursuant to section 503(b)(4) of the Bankruptcy Code.

72. “Professional Compensation Claims” means, at any given moment, all accrued
fees and expenses (including success fees) for services rendered by all Professionals through and
including the Effective Date, to the extent such fees and expenses have not been paid and
regardless of whether a fee application has been Filed for such fees and expenses. To the extent
that the Bankruptcy Court denies or reduces by a Final Order any amount of a Professional’s fees
or expenses, then the amount by Which such fees or expenses are reduced or denied shall reduce
the applicable Professionai Compensation Claim.

73. “Proof of Claim” means a proof of Claim Filed against a Debtor in the Chapter
11 Cases.

74. “PSA” means the Plan Support Agreement and Claim Ailowance dated February
10, 2018 by and among (i) the JQH Trust, for itself and on behalf of all other Debtors; (ii)
Greggory Groves and Jacqueline A. Dowdy, individually and as co-successor trustees of the JQH
Trust, and as offi'cers, directors and employees of various Debtors and JQH Non-Debtor Entities;
and (lii) JD Holdings

75 . “Purchased Assets” means those Assets purchased by JD Holdings pursuant to
the APA.

76. “Purchased Assets Secured Claim” means a Secured Claim on any of the
Purchased Assets.
77. “Rejected Executory Contracts and Unexpired Leases” means those Executory

Contracts and Unexpired 'Leases that ID Holdings identifies on a schedule of Rejected Executory
Contracts and Unexpired Leases on or before the Effective Date, which shall be deemed rejected
pursuant to section 365 of the Bankruptcy Code on the Effective Date. '

78. “ROFR” means the Sponsor Entity Right of First Refusal Agreement provided by
the Debtors and the JQH Trust to JD Holdings in 2005, including all amendments thereto.

79. “Sale” means the sale contemplated by the APA.

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80. “Sale Financing Facility” means the secured credit facility to be entered into by
JD Holdings as of and subject to the occurrence of the Effective Date in order to facilitate the
consummation of the Sale.

81. “Sale Lender” means the lenders, agents and arrangers providing the Sale
Financing Facility, including Goldman Sachs Mortgage Company and ce1tain of its affiliates, in
their capacity as such.

82. “Schedules” means the schedules of assets and liabilities, schedules of Executory
Contracts and Unexpired Leases, and statements of financial affairs Filed by the Debtors
pursuant to section 521 of the Bankruptcy Code, the official bankruptcy forms, and the
Bankruptcy Rules (as they may be amended, modified, or supplemented from time to time).

83. “Secured Claim” means a Claim against any Debtor that is secured by a Lien on
property in which such Debtor has an interest, which Lien is valid, perfected, and enforceable
pursuant to applicable law or by reason of a Bankruptcy Court order, or that is subject to a valid
right of setoff pursuant to section 553 of the Bankruptcy Code as determined pursuant to section
506(a) of the Bankruptcy Code.

84. “Settlement Agreement” means the Settlement Agreement dated February 10,
2018 by and among (i) the Debtors; (ii) Greggory Groves and Jacqueline A. Dowdy, individually
and as co-successor trustees of the JQH Trust, and as officers, directors and employees of
various Debtors and JQH Non-Debtor Entities; and (iii) JD Holdings and its affiliates

85. “Third-Party Releasing Party” has the meaning set forth in Section VII.G.
hereof.

86. “Trustees Released Party” means Greggory Groves and Jacqueline A. Dowdy,
individually and in their respective capacities as co-successor trustees of the JQH Trust, officers,
directors, general counsel, managers, representatives, agents, and employees of any Debtors and
JQH Non-Debtor Entities.

87. “Unexpired Lease” means a lease to which one or more of the Debtors is a party
that is subject to assumption, assumption and assignment, or rejection under sections 365 or 1123
of the Bankruptcy Code, or may be amended by mutual agreement of the parties thereto.

88. “Unimpaired” means, with respect to a Class of Claims or Equity Interests, a
Claim or Equity Interest that is not impaired within the meaning of section 1124 of the
Bankruptcy Code.

89. “U.S. Trustee” means the United States Trustee for Region 20._

90. “U.S. Trustee Fees” means fees arising under section 1930(a)(6) of the Judicial
Code and, to the extent applicable, accrued interest thereon arising under 31 U.S.C. § 3717.

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B. Rules oflnrcrpretation

The following rules for interpretation and construction shall apply to the Plans: (1) in the
appropriate context, each term, whether stated in the singular or the plural, shall include both the
singular and the plural, and pronouns stated in the masculine, feminine, or neuter gender shall
include the masculine, feminine, and the neuter gender; (2) any reference herein to a contract,
lease, instrument, release, indenture, or other agreement or document being in a particular form
or on particular terms and conditions means that the referenced document shall be substantially
in such form or substantially on such terms and conditions; (3) any reference herein to an
existing document or exhibit having been Filed or to be Filed shall mean that document or
exhibit as it may thereafter be amended, modified, or supplemented; (4) unless otherwise stated,
all references to statutes, regulations, orders, rules of courts, and the like shall mean as amended
from time to time; (5) any reference herein to an Entity as a Holder of a Claim includes that
Entity’s successors and assigns; (6) unless otherwise stated, all references herein to “Articles” or
“Sections” are references to Articles or Sections hereof or hereto; (7) unless otherwise stated, the
words “herein,” “hereof,” and “hereto” refer to the Plans in their entirety rather than to a
particular portion of the Plans; (8) unless otherwise stated, the words “include,” “including” and
similar terms shall be construed as if followed by the phrase “without limitation”; (9) captions
and headings to Articles are inserted for convenience of reference only and are not intended to be
a part of or to affect the interpretation hereof; (10) unless otherwise stated, the rules of
construction set forth in section 102 of the Bankruptcy Code shall apply; and (11) any term used
in capitalized form herein that is not otherwise defined but that is used in the Bankruptcy Code
or the Bankruptcy Rules shall have the meaning ascribed to that term in the Bankruptcy Code or
the Bankruptcy Rules, as applicable

C. Compuratz`on ofTime

The provisions of Bankruptcy Rule 9006(a) shall apply in computing any period of time
prescribed or allowed herein.

D. Governfng Law

Unless a rule of law or procedure is supplied by federal law (including the Bankruptcy
Code and the Bankruptcy Rules), the laws of the State of New York shall govern the
construction and implementation of the Plans and any agreements, documents, and instruments
executed in connection with the Plans.

AR'I`ICLE II.
CLASSIFICATION OF CLAIMS AND INTERESTS

A. Allowea' Claims and Eqw'ty Interesrs

The Allowed Claims against, and Equity lnterests in, each of the Debtors are divided into
the following classes:

(1) Class 1 shall consist of all Other Priority Claims.
(2) Class 2 shall consist of all Secured Claims.

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(3) Class 3 shall consist of all General Unsecured Claims.
(4) Class 4 shall consist of all Equity Interests3,

ARTICLE III.
TREATMENT OF CLAIMS ANI) INTERESTS

All Claims (except Administrative Claims and Priority Tax Claims) and Equity Interests
are placed in the Classes set forth in Article il hereof. ln accordance With section 1123(a)(1) of
the Bankruptcy Code, Administrative Claims and Priority Tax Claims have not been classified,
and the Holders thereof are not entitled to vote on the Plans. A Claim is placed in a particular
Class only to the extent that the Claim falls within the description of that Class, and is classified
in other Classes to the extent that any portion of the Claim falls within the description of such
other Classes. '

A. Adm:.'m'strative Claims (Other Than Professional Compensation Claims)

Except to the extent the Holder of an Allowed Administrative Claim agrees to an
alternative treatment, each Holder of an Allowed Administrative Claim (other than of an
Professional Compensation Claim) shall receive in full and final satisfaction, settlement, release,
and discharge of, and in exchange for, each Allowed Adrninistrative Claim, Cash in an amount
equal to the unpaid amount of such Allowed Administrative Claim on the date, or as soon
thereafter as is reasonably practicable, that is the later of (i) the Effective Date or (ii) the date
such Administrative Claim becomes an Allowed Claim or otherwise becomes payable under the
Plans.

Exeept for Professional Compensation Claims and U.S. Trustee Fees, and unless
previously Filed, requests for payment of Administrative Claims must be Filed and served on JD
Holdings and other parties in interest no later than the Administrative Claims Bar Date pursuant
to the procedures specified in the Confirmation Order and the notice of the occurrence of the
Effective Date. Objections to such requests may be Filed by ID Holdings or any party in interest
and must be Filed and served by the Claims Objection Bar Date. After notice and a hearing in
accordance with the procedures established by the Bankruptcy Code and prior Bankruptcy Court
orders, the Allowed amounts, if any, of Administrative Claims shall be determined by, and
satisfied in accordance with an order of, the Bankruptcy Court.

Holders of Administrative Claims that are required to File and serve a request for
payment of such Administrative Claims that do not File and serve such a request by the
Administrative Claims Bar Date shall be forever barred, estopped, and enjoined from asserting
such Administrative Claims against the Debtors, JD Holdings or its Affiliates, or any of their
respective property, and such Administrative Claims shall be deemed discharged as of the
Effective Date without the need for any objection from the Debtors or .lD Holdings or any action
by the Bankruptcy Court. `

 

3 JD Holdings understands that all Equity interests in Debtors other than JQH Trust are held by other Debtors and
that there are no Equity Interests in JQH Trust` In addition, Debtors also own certain Equity Interests in JQH Non-
Debtor Entities.

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B. Professional Compensation Claims

1. Final Fee Ap_plications

All final requests for payment of Claims of a Professional shall be Filed no later than
forty-five (45) days after the Effective Date. After notice and a hearing in accordance with the
procedures established by the Bankruptcy Code and prior Bankruptcy Court orders, the Allowed
amounts of such Professional Compensation Claims shall be determined by the Bankruptcy
Court and satisfied in accordance with an order of the Bankruptcy Court.

C. Priority T ax Claims

Except to the extent the Holder of an Allowed Priority Tax Claim agrees to an alternative
treatment, each Holder of an Allowed Priority Tax Claim due and payable on or prior to the
Effective Date shall receive in full and final satisfaction, settlement, release, and discharge of,
and in exchange for, each Allowed Priority Tax Claim, Cash in an amount equal to such Allowed
Priority Tax Claim on the date, or as soon thereafter as is reasonably practicable, that is the later
of (i) the Effective Date or (ii) the date such Priority Tax Claim becomes an Allowed Claim or
otherwise becomes payable under the Plans.

D. U.S. Trusree Fees

On the Effective Date or as soon thereafter as reasonably practicable, JD Holdings shall
pay all U.S. 'l`rustee Fees that are due and owing on the Effective Date. Following the Effective
Date, ID Holdings shall pay the U.S. Trustee Fees for each quarter (including any part thereof)
until the first to occur of the Chapter 11 Cases being converted, dismissed, or closed.

ARTICLE IV.
CLASSIFICATION AN]) TREATMENT OF CLAIMS AND EQUITY INTERESTS

A. Sumnrary

The categories listed in Section IV.B hereof classify Claims against, and Equity interests
in, each of the Debtors for all purposes, including Confirmation and Plans Distributions pursuant
hereto and pursuant to sections 1122 and 1123(a)(l) of the Bankruptcy Code. A Claim or Equity
Interest is classified in a particular Class only to the extent that the Claim or Equity Interest
qualifies within the description of that Class and is classified in other Classes to the extent that
any portion of the Claim or Equity Interest qualifies within the description of such other Classes.
A Claim or Equity Interest is also classified in a particular Class for the purpose of receiving
Plans Distributions only to the extent that such Claim or Equity Interest is an Allowed Claim or
Allowed Equity Interest in that Class and has not been paid, released, or otherwise satisfied prior
to the Effective Date.

B. Classijication anaI Trearment ofClainrs and Equity Interests

To the extent a Class contains Allowed Claims or Allowed Equity Interests with respect
to a particular Debtor, the treatment provided to each Class for purposes of Plans Distributions is
specified below:

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l. Class l - Other Priority Claims
(a) Classijication: Class 1 consists of all Other Priority Claims.

(b) Treatment: Except for any Allowed Priority Claim that relates to an
Assumed Agreement, each Holder of an Allowed Other Priority Claim
shall receive in full and final satisfaction, settlement, release, and
discharge of, and in exchange for, each Allowed Other Priority Claim,
Cash in an amount equal to the unpaid amount of such Allowed Other
Priority Claim on the date, or as soon thereafter as is reasonably
practicable, that is the later of (i) the Effective Date or (ii) the date such
Other Priority Claim becomes an Allowed Claim or otherwise becomes
payable under the Plans. Allowed Priority Claims relating to Assumed
Agreements shall receive Cure Costs in accordance with Section Vll
hereof.

(c) Voting: Class 1 is Unimpaired by the Plans. Each Holder of a Class l
Other Priority Claim is conclusively presumed to have accepted the Plans
pursuant to section 1126(1) of the Bankruptcy Code. No Holder of a Class
l Other Priority Claim is entitled to vote to accept or reject the Plans.

2. Class 2 -Secured Claims

(a) Classi'jicarion: Class 2 consists of all Secured Claims other than Assumed
Loans.

(b) Treaanent: Each Holder of an Allowed Secured Claim shall receive in full
and final satisfaction, settlement, release, and discharge of, and in
exchange for, each Allowed Secured Claim, Cash in an amount equal to
the unpaid amount of such Allowed Secured Claim on the date, or as soon
thereafter as is reasonably practicable, that is the later of (i) the Effective
Date or (ii) the date such Secured Claim becomes an Allowed Claim or
otherwise becomes payable under the Plans, unless such Holder of an
Allowed Secured Claim agrees to extend the term of the loan on terms, or
accept other treatment, mutually agreeable to such Holder and JD
Holdings.4

(c) Voting: Class 2 is Unimpaired by the Plans. Each Holder of a Class 2
Secured Claim is conclusively presumed to have accepted the Plans
pursuant to section 1126(f) of the Bankruptcy Code, No Holder of a Class
2 Secured Claim is entitled to vote to accept or reject the Plans.

3. Class 3 - General Unsecured Claims

(a) Classz`ftcation: Class 3 consists of all General Unsecured Claims.

 

4 For the avoidance of doubt, a loan may be reinstated and/or assumed. To the extent that any loan is neither
reinstated nor assumed, then such loan shall be treated as a Secured Claim.

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(b) Trearmenf: Except to the extent a Holder of an Allowed General
Unsecured Claim agrees to an alternative treatment, each Holder of an
Allowed General Unsecured Claim shall receive in full and final
satisfaction, settlement, release, and discharge of, and in exchange for,
each General Unsecured Claim, Cash in an amount equal to the unpaid
amount of such Allowed General Unsecured Claim on the date, or as soon
thereafter as is reasonably practicable, that is the later of (i) the Effective
Date or (ii) the date such Claim becomes an Allowed Claim or otherwise
becomes payable under the Plans.

(c) Vofr'ng: Class 3 is Unimpaired by the Plans. Each Holder of a Class 3
General Unsecured Claim is conclusively presumed to have accepted the
Plans pursuant to section 1126@ of the Bankruptcy Code. No Holder of a
Class 3 General Unsecured Claim is entitled to vote to accept or reject the
Plans.

4. Class 4 ~ Equity Interests

(a) Classn?catz`on: Class 4 consists of all Equity Interests in each of the
Debtors.

(b) Treatnrent: Holders of Equity Interests shall not receive separate
consideration for such Equity Interests. Such Equity Interests will be
transferred as set forth in Article Vl hereof

(c) Von`ng: Class 4 is Unimpaired by the Plans. Each Holder of a Class 4
Equity Interest is deemed to have accepted the Plans pursuant to section
1126(1) of the Bankruptcy Code. No Holder of a Class 4 Equity Interest is
entitled to vote to accept or reject the Plans.

C. Specz'al Provz`sz`on Governing Unimpaired Claims and Equity Interests

Except as otherwise provided in the Plans, nothing under the Plans shall affect the rights
of the Debtors, JD Holdings, and any other party in interest in respect of any Unimpaired Claims
or Equity Interests, including all rights in respect of legal and equitable defenses to all claims for
relief and causes of action against the Holder of such claims and interests, or setoffs or
recoupments against, any such Unimpaired Claims or Equity lnterests. For the avoidance of
doubt, JD Holdings may interpose an objection to any Claim at any time up to the Claims
Objection Bar Date.

D. Acceptance or Rejecrfon ofPlan
l. Voting Classes Under Plans

Under the Plans, there are no impaired Classes entitled to vote to accept or reject the
Plans.

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2. Presumed Acceptance Under Plans

 

Under the Plans, (a) Classes 1, 2, 3 and .4 are Unimpaired, (b) the Holders of Claims in
such Classes are conclusively presumed to have accepted the Plans pursuant to section 1126(f) of
the Bankruptcy Code, and (c) such Holders are not entitled to vote to accept or reject the Plans.

E. Conjirrnafl`on Pursuanr to Sectz'on 1129(15) ofBankrnptcy Code

ID Holdings will request Confirmation pursuant to section 1129(b) of the Bankruptcy
Code with respect to any Impaired Class that is deemed to reject the Plans or votes to reject the
Plans. ID Holdings reserves the right to revoke or withdraw the Plans or any document in the
Plans Supplement, subject to and in accordance with the terms of the Plans, at any time prior to
Confirmation. JD Holdings also reserves the right to alter, amend, or modify the Plans, including
amending or modifying it to satisfy the requirements of section 1129(b) of the Bankruptcy Code,
if necessary, subject to and in accordance with the terms of the Plans, at any time prior to
Confirmation.

Notwithstanding that voting on the Plans is not required, any party in interest may object
to Confirmation.

ARTICLE V.
CHARITABLE CONTRIBUTION

On the Effective Date, JD Holdings shall establish the Charitable Trust to honor Mr,
Hammons’ charitable intent, which shall be named the “John Q. Hammons Charitable Trust”.
JD Holdings will contribute to the Charitable Trust (a) $2.0 million in Cash5 and (b) one or more
Non-Hotel Assets designated by .lD Holdings on or before the Effective Date having a value
totaling not less than $3.0 million6 free and clear of all Liens and Claims.

ln addition, JD Holdings would contribute to the Charitable Trust additional Non-Hotel
Assets as designated by ID Holdings, of no less than 315 million in valuei free and clear of all
Liens and Claims, if Debtors and their Affiliates, the JQH Non-Debtor Entities (other than such
JQH Non-Debtor Entities in which the Debtors do not own a controlling interest), and the estate
of John Q. Hammons, and their respective principals, trustees, beneficiaries, shareholders,
partners, members, directors, ofticers, employees and other persons or entities under their control
(coliectively, the “Debtor Parties”), voluntarily cooperate in obtaining the Confirmation Order,
closing the Sale and other Plans Transactions, and implementing the Plans, as follows:

 

5 ID Holdings shall pay the JQH Trust sufficient funds to wind up the administration and operations of the JQH
Trust and the state court probate of the Estate of John Q. Hammons, which is estimated to be $615,000. To the
extent these expenses exceed $615,000, the amount of Cash and the Non-Hotel Assets to be contributed to the
Charitable Trust shall be decreased on a pro rata basis by an amount equal to such excess.

5 The value of such additional Non-Hotel Assets shall be based on Debtors’ valuations as set forth in the appraisals
of the Non-Hotel Assets prepared by Alvarez and Marsal Valuation Services, with an effective date of June 26,
2016.

7 The value of such additional Non-l'lotel Assets shall be based on Debtors’ valuations as set forth in the appraisals
of the Non-Hotel Assets prepared by Alvarez and Marsal Valuation Services, with an effective date of June 26,
2016.

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(i) None of the Debtor Parties Files an objection to the Disclosure Statement or
Plans, or opposes Confirmation, or in any manner, directly or indirectly, takes or
fails to take any actions, or otherwise work with, consult, encourage or otherwise
assist any other Entity to take or fail to take any action that would or would
reasonably be expected to prevent, delay, impede, interfere with, or otherwise
could be adverse to, obtaining approval of the Disclosure Statement or Plans, or
obtaining the Confirmation Order, as determined by JD Holdings in its reasonable
judgment;

(ii) The Debtor Parties take all such actions, or not take such actions, as necessary or
appropriate, or as requested by .lD Holdings, to obtain the approval of the
Disclosure Statement and Plans, and the Confirmation Order, and provide JD
Holdings and its representatives access to review all books, records and other
information (including all electronic records) with respect to the Debtors and JQH
Non-Debtor Entities, as determined by JD Holdings in its reasonable judgment;
and

(iii) The Debtors perform all of their obligations under the Plans and Plans Documents
and otherwise comply with the terms of the Plans and Plans Documents, until the
closing of all Plan Transactions contemplated by the APA, as determined by .TD
Holdings in its reasonable judgment

The Plans Supplement will disclose the mechanism for how the contributions to the
Charitable Trust will take into account certain administrative costs and other Claims.

Notwithstanding JD Holdings’ right to designate which Non~Hotel Assets to contribute to
the Charitable Trust, the land and building that houses, and the Debtors’ interest in, the l\/lissouri
Sports Hall of Fame shall be one of the Non-Hotel Assets contributed to the Charitable rl`rust. In
addition, in the event that the baseball stadium located in Springfield, Missouri and leased by the
JQH Trust (the “Baseball Stadium”) is not one of the Non-l-Iotel Assets contributed to the
Charitable Trust, ID Holdings shall continue to keep the name “Hammons Field” on the Baseball
Stadium until and unless JD Holdings transfers its interest in and/or rights with respect to the
Baseball Stadium to a third party non-Affiliate of ID Holdings.

Greggory Groves and/or Jacqueline Dowdy shall designate the charitable organizations to
which each of the Non~Hotel Assets in the Charitable Trust are distributed Such designations
shall be made in writing to JD Holdings within ten (10) days after JD Holdings informs the
Debtors of the Non-Hotel Assets to be contributed to the Charitable Trust. Any disputes
regarding the designations of such charitable organizations shall be resolved by Judge Dale
Somers, as mediator.

ARTICLE Vl.
EFFECT OF CONFIRMATION

A. Act'z`ans Reant'red By Confrrntatfon Order

The Confirmation Order shall be deemed to (i) authorize, among other things, the Sale
and other Plans Transaetions and the implementation of the Plans, and (ii) require the Debtors to

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execute the APA and other Plans Documents, and all other documents and instruments, and take
all other actions, as required under these Plans or that }D Holdings otherwise determines are
necessary or appropriate to consummate the Sale and other Plans Transactions and implement
the Plans. On and after the Confirmation Date, ]D Holdings may take, or require Debtors to take,
all actions as may be necessary or appropriate to effect the Sale and other Plans Transactions and
the implementation of the Plans.

Upon execution of the APA pursuant to the Confirmation Order, JD Holdings shall
deposit 850 million into escrow (the “Deposit”), to be disbursed to the Debtors in the event that
the Effective Date does not occur by the Outside Effective Date; provided, however, the Deposit
shall not be forfeited if the Effective Date does not occur by the Outside Effective Date as a
result of a breach by the Debtors of their obligations under the APA, Plans, the PSA or the
Settlement Agreement, or failure of a closing condition in the APA or other Plans Documents, or
an appeal of the Confirmation Order. If the Effective Date does not occur by the Outside
Effective Date, then forfeiture of such Deposit shall be the sole remedy for such failureg

B. Cccperaticn by Debtor Parfr'es
From the Confirmation Date until the Effective Date:

(i) The Debtor Parties shall continue, and cause their Afflliates, to operate the Assets
in the ordinary course consistent with Debtors’ past custom and practice and the
industry standards for the operation of similar Assets and Debtors’ operating
budget for 2018 (the “Ordinarv Course of Business”), including (i) maintaining
the inventories at levels maintained in the Ordinary Course of Business; (ii)
performing maintenance and repairs in the Ordinary Course of Business, and
commencing or continuing any capital projects scheduled in the capital budget for
the Assets; (iii) taking or ceasing such action as is necessary, appropriate or
advisable to cure any violation of applicable laws; (iv) renewing all licenses and
permits before their expiration', (v) maintaining all existing insurance policies; (vi)
not making any alterations or improvements at the Assets, or demolishing any of
the Assets, other than in the Ordinary Course of Business orl as provided in
Debtor’s capital expenditures budget for the relevant period; (viii) not removing
any property from the Assets, other than in the Ordinary Course of Business; and
(ix) not taking, or causing or permitting to be taken, any action that could impair
Debtors’ title to any of the Assets or create any Lien or encumbrance on the
Assets; (x) complying with all leases, convention center agreements, franchise
agreements, operating agreements, management agreements, licenses and permits;
(xi) amending, extending, renewing or terminating any leases, agreements,
licenses or permits, except in the Ordinary Course of Business, without JD
Holdings’ prior written consent; (xi) not entering into any new leases or
agreements with respect to the Assets, without JD Holdings’ prior written
consent, unless such leases or agreements are terminable by JD Holdings without
any termination fee, penalty or other amount upon not more than 30 days’ notice;
(xii) not entering into any agreement or understanding with Insiders, without JD

 

3 In addition, the allowance of JD Holdings’ Claims may be reversed as set forth in the PSA.
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(ii)

(iii)

(iv)

(V)

(Vi)

Holdings’ prior written consent; and (xiii) not paying bonuses or other amounts in
excess of base salary to any employees of Debtors;

The Debtor Parties shall permit ID Holdings to take such actions with respect to
the Assets as JD Holdings deems necessary or advisable to facilitate the transition
of the operation of the Assets at closing of the Sale pursuant to which the
employees, agents and representatives designated by JD Holdings shall have
unrestricted access to the Assets and Debtors’ offices in Springfield, Missouri,
during normal business hours to facilitate the transition of the management and
operation of the Assets upon closing of the Sale, including, tlie right to review all
books, records and other information (including all electronic records) with
respect to the Assets in Debtors’ possession, provided that neither JD Holdings
nor the Sale Leiider shall be deemed to have assumed any management or
operational responsibilities prior to closing of the Sale by virtue of such activities
and shall not have the right to direct any of Debtors’ employees or otherwise have
any right to make any decisions for or on behalf of Debtors with respect to the
operation of the Assets',

The Debtor Parties shall provide all financial statements and other reports,
documents, notices and information to JD Holdings and access to the Assets that
Debtors otherwise would be required to provide to any of its lenders under the
applicable loan agreements with Debtors for Assets secured by any Liens, or as
requested by JD Holdings for such Assets that are not secured by any Liens, and
any such documents and information requested by JD Holdings;

JD Holdings shall have the right to conduct, or engage a third-party to conduct, a
forensic audit of all books and records of Debtors and its Aft`iliates and the Assets
for any time period, and the Debtor Parties shall cooperate fully in such forensic
audit;

The Debtor Parties shall take all such actions, or not take such actions, necessary
or appropriate to consummate the Sale and all other Plans Transactions and
implement the Plans, including permitting JD Holdings and its lenders, agents and
representatives to communicate directly with any ground lessors, franchisors,
governmental authorities and other third-parties, obtaining all consents, approvals,
estoppel certificates and other documents, materials or information as requested
by any lenders, ground lessors, franchisors, governmental authorities or other
third parties, or as JD Holdings reasonably determines necessary or appropriate,
to consummate the assumption of the Assumed Loans, the Sale and other Plans
Transactions; and

The Debtor Parties shall not in any manner, directly or indirectly, take or fail to
take any actions, or otherwise work with, consult, encourage or otherwise assist
any other Entity to take or fail to take any action that would or would reasonably
be expected to prevent, delay, impede, interfere with, or otherwise could be
adverse to, the consummation of the Sale and any other Plans Transactions or
implementation of the Plans, including any appeal relating to the Plans.

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After the Effective Date, Debtor Parties shall continue to perform their obligations in this
Article VI.B to the extent that they have personnel and resources available to perform such
obligations Any disputes regarding Debtor Parties’ performance of their obligations in this
Article VI.B. shall be resolved by Judge Dale Somers, as mediator.

ARTICLE VII.
IMPLEMENTATION OF THE SALE ANI) OTHER PLANS TRANSACTIONS

A. Overview

The Plans contemplate a sale of all Assets (including Equity Interests) free and clear of
all Liens and Claims (except as set forth in these Plans) pursuant to Bankruptcy Code sections
105, 363, 365 and ll29 (among others) to JD Holdings pursuant to the APA. ID Holdings shall
file a Plans Supplement no later than seven (7) days before the Confirmation Hearing. This
Plans Supplement shall include the schedules to the APA and such agreements and other
documents as may be necessary or appropriate to effectuate and further evidence the terms of the
Plans. In consideration, on or shortly after the Effective Date, JD Holdings shall pay all Allowed
Claims in full in Cash, except for any Assumed Loans (whether pursuant to the terms of the
existing agreements and/or pursuant to new agreements to do so, which shall be paid in
accordance with their terms), and contribute certain Cash and Non-Hotel Assets to a new
Charitable Trust as set forth in Articie V hereof At or prior to the Effective Date, ID Holdings
may elect to leave certain Assets with the JQH Trust either pending subsequent closings as set
forth hereafter, may direct certain Assets to be conveyed or transferred directly to the Charitable
Trust free and clear of all Liens and Claims, or if JD Holdings determines not to close with
respect to such Assets, then such Assets shall remain with the JQH Trust free and clear of all
Liens and Claims.

JD Holdings shall be obligated to proceed to closing of the Sale pursuant to the APA
following the Confirmation Order becoming a Final Oi'der, except in the event of an appeal of
the Confirmation Order, a breach by Debtors of their obligations under the APA, Plans, the PSA,
_or the Settlement Agreement, and certain other customary sale conditions to be set forth in the
NAPA, as set forth more fully in the Disclosure Statement The APA contemplates a series of
closings, starting on the Effective Date and ending no later than the Outside Closing Date.
Notwithstanding the foregoing, if JD Holdings is unable to obtain a required consent for certain
Assets, a waiver of a third-party termination right that would be triggered by the sale of certain
Assets or consent for the assumption of the Assumed Loans, by such Outside Closing Date (the
“Delayed Assets”), but all Allowed Claims existing as of the Outside Closing Date have`been
paid by the Outside Closing Date, Debtors shall retain such Delayed Assets free and clear of all
Liens and Claims until such time that such Delayed Assets are transferrable to JD Holdings. Iii
such case, all economic benefits and interests from such Delayed Assets shall inure to the benefit
of JD Holdings pending such closing on the Delayed Assets. The Plans Supplement will disclose
additional details regarding the administration and operation of any Delayed Assets after the
Outside Closing Date.

As part of the Plans, JD Holdings will subordinate its Claim arising from the ROFR to
the payment of all Allowed Claims. JD Holdings has an Allowed Claim of $495,938,161.00 for

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its Claims against each Debtor jointly and severally arising from the ROFR (the “Allowance
Provision”); provided, however, if Debtors (i) do not breach the PSA and (ii) cooperate as set
forth in the PSA and in the Settlement Agreement, and the Plans are not confirmed or the
Effective Date of the Plans does not occur, then the Allowance Provision shall be of no force and
effect unless Debtors, their employees, officers, directors, and/or co-trustees nevertheless receive
through some alternative plan, sale, or other transaction the benefits of the Plan modifications in
the Settlement Agreement, to include the funding of the Charitable Trust and the benefits of the
Settlement Agreement, in which case the Allowance Provision will be effective Accordingly, a
determination of the amount of such Claim, and all litigation relating thereto, will not be needed
or affect the Plans Distributions to other Holders of Claims. The subordination of ID Holdings’
Claim arising from the ROFR shall become effective upon consummation of the Sale and
implementation of the Plans, and shall be subject to Debtors’ compliance with these Plans.

JD Holdings will have a limited period of time until the Claims Objection Bar Date iii
which to determine the Claims, if any, to which an objection would be Filed. All Claims to
Which an objection is not Filed will be deemed Allowed. lf a Claim objection is Filed, the
undisputed portion of that Claim will be deemed Allowed, entitled to payment along with all
other Allowed Claims upon the Effective Date of the Plans or as soon thereafter as is practicable,
and the disputed portion of that Claim will not be paid until such dispute is resolved by
settlement or adjudication and determined to be an Allowed Claim. Prior to the Effective Date,
JD Holdings will identify what Assets, if any, it will not purchase as part of the Sale or other
Plans Transactions, in which case the JQH Trust shall retain any such Assets free and clear of all
Liens and Claims.

As set forth more fully in the Disclosure Statement, some of Debtors’ debts are
assumable by a purchaser of the related Assets. Upon Confirmation, Debtors shall cooperate
fully and take all steps necessary to effectuate such assumptions by JD Holdings, and the lenders
relating thereto shall be obligated to perform as required by the respective loan agreements JD
Holdings shall work with the lenders of such loans to ensure timely assumption

B. Sources of Considerati'onfor Sale and Other Plans Transactions and Plans Di'sfriburi'ons

JD Holdings shall (i) assume the Assumed Loans, (ii) assume the Assumed Agreements,
(iii) assume and pay the Allowed Claims, (iv) establish and contribute assets to the Charitable
Trust, (v) pay the JQH Trust sufficient funds to wind up the administration and operations of the
JQH Trust and the state court probate of the Estate of J olin Q. Hammons, and (vi) pay taxes as a
result of dispositions (including but not limited to capital gains taxes and other taxes payable
under 26 U.S.C. § 1231) resulting from the Sale and Plans Transactions described in the Plans
and the APA, all as set forth above. Pursuant to these Plans, JD Holdings is purchasing all
Assets, except those Assets, if any, that ID Holdings elects not to purchase as part of the Sale or
other Plans Transactions, in which case the JQH Trust shall retain any such Assets free and clear
of all Liens and Claims. Funds to consummate the Plans Transactions shall come from JD
Holdings and its affiliates and financing from third parties, including the Sale Lender pursuant to
the Sale Financing Facility (as discussed in greater detail in the Disclosure Statement).

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C. Provisfons Goverm`ng Distributi`oris

As of the close of business on the Distribution Record Date, the Claims Register for each
of the Classes of Claims and Equity Interests as maintained by the Debtors or their respective
agents, shall be deemed closed, and there shall be no further changes in the record Holders of
any of the Claims or Equity Interests Except as otherwise provided in the Plans, the Debtors and
JD Holdings, as applicable, shall have no obligation to recognize any transfer of the Claims or
Equity Interests occurring on or after the Distribution Record Date. Except as otherwise provided
in the Plans, the Debtors and JD Holdings, as applicable, shall be entitled to recognize and deal
for all purposes hereunder only with those record Holders stated on the Claims Register as of the
close of business on the Distribution Record Date.

Unless otherwise provided in the Plans, on the Effective Date or as soon thereafter as
reasonably practicable (or if a Claim or Equity Interest is not Allowed on the Effective Date, on
the date that such a Claim or Equity interest is Allowed, or as soon thereafter as reasonably
practicable), each Holder of an Allowed Claim or Equity Interest shall receive the full amount of
the Plans Distribution that such Holder is entitled to pursuant to the Plans.

During the course of the Chapter ll Cases, the Debtors have stipulated to limited relief
from the automatic stay (the “ tay Relief Stipulations”) to permit certain potential Holders of
Claims arising out of or related to the allegations contained in their respective causes of action
(collectively, the “Action”). Pursuant to those Stay Relief Stipulations, the Holders of such
Claims were permitted to litigate the issues raised in the Actions to completion, and the parties in
the Actions were permitted to pursue any appeals of any decisions to any court with appellate
jurisdiction, for the purpose of establishing the amount, if any, of their claims (the “Personal
injury Claim Amount”). The Holders of such Claims Were also permitted to settle, enforce and
collect the Personal Injury Claim Amount directly from all insurance policies and proceeds
without having to seek a further order of the Bankruptcy Court.9

All tort Claims subject to litigation and defended by the Debtors’ insurers shall be treated
as disputed Claims. Accordingly, any such Claim shall be paid by JD Holdings only to the
extent that (i) the claimant prevails in litigation and (ii) the Debtors’ insurance policies do not
cover the Claim. JD Holdings shall take any actions necessary to continue the coverage for such
Claims under the applicable insurance policies.

D. - Compfz`ance Matrers

In connection with the Plans, to the extent applicable, the Debtors and JD Holdings shall
comply with all tax withholding and reporting requirements imposed on them by any
governmental authority, and all Plans Distributions shall be subject to such withholding and
reporting requirements Notwithstanding any provision to the contrary in the Plans, the Debtors
and JD Holdings shall be authorized to take all actions necessary or appropriate to comply with
such withholding and reporting requirements, including liquidating a portion of the Plans
Distribution generate sufficient funds to pay applicable withholding taxes, withholding Plans
Distributions pending receipt of information necessary to facilitate such Plans Distributions, or

 

9 Such Claims shall be disputed Claims.

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establishing any other mechanisms they reasonably believe are necessary or appropriate The
Debtors and ID Holdings reserve the right to allocate all Plans Distributions in compliance With
all applicable wage garnishments, alimony, child support, and other spousal awards, liens, and
encumbrances

E. Exempi‘fonfrom Certai`n Taxes and Fees

Pursuant to section 1146(a) of the Bankruptcy Code, any transfer from any Debtor to JD
Holdings, the Sale Lender or to any other Entity pursuant to, in contemplation of, or in
connection with the Plans, including (l) the issuance, distribution, transfer, or exchange of any
debt, Equity Interest, or other interest in any Debtor, (2) the creation, amendment, modification,
consolidation, or recording of any mortgage, deed of trust, or other security interest, or the
securing of any indebtedness by any document or instrument or other means, (3) tlie making,
assignment, or recording of any lease or sublease, or memorandum of such lease or sublease, or
(4) the making, delivery, or recording of any deed, bill or sale, assignment or other document or
instrument of transfer of any real property or personal property, shall not be subject to any
document recording tax, stamp tax, conveyance fee, intangibles tax, mortgage tax, real estate
transfer tax, sales or use tax, mortgage recording tax, Uniform Commercial Code filing or
recording fee, or other similar tax or fee imposed by any governmental authority, and the
appropriate state or local governmental officials or agents shall forego the collection of any such
tax or fee by such governmental authority, and accept for filing and recordation any of the
foregoing documents and instruments without the payment of any such tax or fee.

F. Employment ofDebtors’ Empfoyees / Severance Marters

With respect to the approximately 4,000 employees (the “Employees”) employed by
Debtors and Non-Debtors JQH Entities (“Existing Employer”), upon consummation of the Sale
and Other Plan Transactions, JD Holdings or its Affiliates (“New Employer”) will offer
employment to substantially all of the Employees of Debtors and JQH Accounting (subject to
standard background and compliance checks), but in any event a sufficient number of Employees
that will not trigger the application of the Worl<er Adjustment and Retraining Notification Act
(or similar local or state laws or regulations) (the “WARN Act”). New Employer will (a) pay
salaries or wages to the Employees who accept such offer of employment (the “Rehired
Employees”) at no less than ninety (90%) of the salary or wages of Such Rehired Employees
existing as of the rehiring date, and (b) recognize the Rehired Employee’s prior years of
employment with Existing Employer (including any prior employment with Winegardner &
Hammons, Inc. and any predecessor-in-interest to the Debtors).

New Employer shall be responsible for all claims and liabilities with respect to (l)
application of the WARN Act, (2) salaries, wages, bonuses, profit sharing and other
compensation, vacation and sick leave, worker’s compensation, employer’s contribution under
F.I.C.A,, unemployment compensation, welfare benefits, deferred compensation, savings,
pension, 401(|<) and retirement plan and insurance and other benefits of whatever kind which
becomes payable to any Employee, and (3) any alleged or actual unfair labor practices,
employment discrimination charges and lawsuits, and other similar claims of any Employees
regarding employment matters arising out of or alleged acts or omissions of Existing Manager.

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New Employer shall defend, indemnify and hold harmless the Trustees Released Parties
from and against all loss, cost, express liabilities, causes of action and claims with respect to the
application of the WARN Act.

With respect to the Employees identified in Exhibit A to the Settlement Agreement (the
“Designated Employees”) who are terminated or resign within l80 days after consummation of
the Sale or other Plan Transactions, each Designated Employee shall promptly receive from
Existing Employer a lump sum severance payment in the amounts set forth in Exhibit A to the
Settlement Agreement upon such termination or resignation

With respect to the Employees at JQH Management’s offices in Springfield, Missouri, or
its regional offices, or at JQH Accounting Services, LLC, but are not specifically identified in
Exhibit A to the Settlement Agreement (the “Non-Des_ignated Employees”) who are terminated
without cause within 180 days after consummation of the Sale or other Plan Transaction, each
Non-Designated Employee shall promptly receive from Existing Employer a lump sum
severance payment equal to one week of salary for every full year of employment by such Non-
Employee with any Debtors or Non-Debtor JQH Entities (including any prior employment with
Winegardner & Hammons, lnc. or a predecessor~in-interest of the Debtors) up to twenty (20)
years ofemployment,10

JD Holdings (or its Affiliate) shall provide access to COBRA health insurance coverage
to all Employees (both Designated Employees and Non-Designated Employees) who are
terminated or resign upon consummation of the Sale or other Plan Transaction.

Prior to the Effective Date, each of l\/[s. Dowdy and Mr. Groves shall continue to perform
their regular duties and the duties set forth in this Plan, the Settlement Agreement, and the Plan
Support Agreement and receive their regular compensations and benefits provided to them by
Existing Employer. Except as otherwise set forth in the Plans Supplement (as agreed to by the
Debtors and JD Holdings) to be filed prior to the Confirmation Hearing (or other agreement),
from and after the Effective Date Ms. Dowdy and Mr. Groves: (a) shall resign from their
positions with JQH Management and each and every position they hold with any of the other
Debtors (with the exception of their role as successor trustees of the JQH Trust) and (b) shall
receive no further compensation from the Debtors in connection with their resignations from
such management positions, provided however, that promptly upon their respective resignations
from JQH Management, unless otherwise agreed to between the Debtors and JD Holdings and as
set forth in the Plans Supplement, the Existing Employer or JD Holdings (or its Affiliate') shall
pay in a lump sum the severance payable to Ms. Dowdy and Mr. Groves as set forth on Exhibit
A to the Settlement Agreement.

With respect to all payments to be made by Existing Employer under this paragraph F, JD
Holdings (or its Affiliate) shall cause Existing Employer to have sufficient Cash to make such
payments

 

m lf a Non~Designated employee is offered employment in a location more than 50 miles from his or her current
place of employment, the Non-Designated employee may reject such offer of employment without waiving his or
her right to severance under this Article VII.F.

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AR'I`ICLE VIII.
EFFECTIVE DATE OF PLANS

A. Bi'ndi'ng Ejjfect ofPlaiis

Subject to Section IX.B of these Plans, and notwithstanding Bankruptcy Rules 3020(e),
6004(h), and 7062 or otherwise, upon the occurrence of the Effective Date, the terms of the Plans
shall be immediately effective and enforceable and binding upon the Debtors, the JQH Non-
Debtor Entities, ID Holdings, the Sale Lender and any and all Holders of Claims and Equity
Interests (irrespective of whether such Claims and Equity Interests accepted or are deemed to
have accepted the Plans), all Entities that are parties, or are subject, to the settlements,
compromises, releases, discharges, and injunctions described in the Plans, all Entities acquiring
or receiving property under the Plans, and all non-Debtor parties to Executory Contracts or
Unexpired Leases with any Debtor, and all Releasing Parties. All Claims and Equity Interests
shall be as fixed, adjusted, or compromised, as applicable, pursuant to the Plans regardless of
whether any Holder of a Claim or Equity Interest has supported the Plans ln addition, the
discharges and releases set forth in this Article lX shall become effective and binding on the
Effective Date.

B. Discharge ofClaims

Except as otherwise expressly provided by section ll41 of the Bankruptcy Code or the
Plans, and in consideration of the obligation of JD Holdings to make the Plans Distributions, any
debt that arose before the Confirmation Date and any debt of a kind specified in sections 502(g),
502(h) or 502(i) of the Bankruptcy Code and all Claims of any nature will be released and
discharged iii full on the Effective Date, including any interest accrued thereon from and after the
Petition Date, whether or not (i) a Proof of Claim based on such debt or obligation is Filed or
deemed Filed under section 501 of the Bankruptcy Code, (ii) such Claim is Allowed or (iii) the
Holder of such Allowed Claim supports the Plans.

C. Releases by the Debtors

Pursuant to section 1123(b) cf the Bankruptcy Code, and except as otherwise specifically
provided in the Plans, for good and valuable consideration, including the service of the JD
Holdings Released Parties and the Trustees Released Parties to facilitate the reorganization of the
Debtors, the consummation of the Plans Transactions and the implementation of the Plans, from
and after the Effective Date, the Debtors (including the respective estates), for themselves and on
behalf of their Affiliates, the JQH Non~Debtor Entities and the estate of John Q. Hammons, and
each of the foregoing Entities’ respective and current and former shareholders, members
(including ex-officio members), partners, directors, principals, managers, officers, trustees,
beneficiaries, donees, employees, attorneys, financial advisors, accountants, investment bankers,
investment advisors, actuaries, professionals, consultants, agents, and representatives, and the
predecessors, successors and assigns of each of the foregoing, including, without limitation,
Greggory Groves and Jacqueline A. Dowdy, individually and in their respective capacities as co-
successor trustees of the JQH Trust, and as officers, directors, and employees of any Debtors and
JQH Non-Debtor Entities (in each case, in his, her, or its capacity as such, the “Debtor Releasing
Parties”), hereby conclusively, absolutely, unconditionally, irrevocably, fully and forever release

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and discharge each of the ID Holdings Released Parties and the Trustees Released Parties from
any and all claims, interests, obligations, rights, suits, damages, Causes of Action, remedies, and
liabilities whatsoever, whether known or unknown, foreseen or unforeseen, existing or
hereinafter arising, in law, equity, or otherwise, whether for tort, contract, violations of any
federal state or other laws, or otherwise, that any of the Debtor Releasing Parties have asserted,
could have asserted or might be entitled to assert in their own right (whether individually or
collectively) or on behalf of the Holder of any Claim or Equity Interest or other Entity, based on
relating to, or in any manner arising from, or in connection with, in whole or in part, (i) the
Debtors (including their respective estates); (ii) the Chapter 11 Cases; (iii) the subject matter of,
or the transactions or events giving rise to, any Claim or Equity Interest that is the subject of the
Plans; (iv) the business or contractual arrangements between the Debtors and any Released Party
(including the ROFR); (v) the restructuring of any Debtors or JQH Non-Debtor Entities; (vi) the
restructuring of Claims and Equity Interests prior to or in the Chapter ll Cases; (vii) the
negotiation, formulation, or preparation of the Plans and the Disclosure Statement, Plans
Documents or other agreeinents, instruments or documents relating to the Plans; or (viii) the
subject matter of the Delaware Litigation. Notwithstanding anything to the contrary in the Plans,
the foregoing release does not release any obligations of any Entity under the Plans or any Plans
Documents executed to consummate any Plan Transactions, or other agreement, instrument or
documents executed to implement the Plans.

D, Releases by JD Holdings

Except as otherwise specifically provided in the Plans, for good and valuable
consideration, including the service of the Debtors Released Parties and the Trustees Released
Parties to facilitate the reorganization of the Debtors, the consummation of the Plans
Transactions and the implementation of the Plans, fi'om and after the Effective Date, the ID
Holdings, for itself and on behalf of its Affiliates, and each of the foregoing Entities’ respective
and current and former shareholders, members (including ex-officio members), partners,
directors, principals, managers, officers, trustees, beneficiaries, donees, employees, attorneys,
financial advisors, accountants, investment bankers, investment advisors, actuaries,
professionals, consultants, agents, and representatives, and the predecessors, successors and
assigns of each of the foregoing, including, without limitation, Jonathan D. Eilian and Ronald C.
Brown, individually and in their respective capacities as officers, directors, and employees of any
JD Holdings or any of its Affiliates (in each case, in his, her, or its capacity as such, the “E
Holdings Releasing Parties”), hereby conclusively, absolutely, unconditionally, irrevocably, fully
and forever release and discharge each of the Debtors Released Parties and the Trustees Released
Parties from any and all claims, interests, obligations, rights, suits, damages, Causes of Actioii,
remedies, and liabilities whatsoever, whether known or unknown, foreseen or unforeseen,
existing or hereinafter arising, in law, equity, or otherwise, whether for tort, contract, violations
of any federal state or other laws, or otherwise, that any of the JD Holdings Releasing Parties
have asserted, could have asserted or might be entitled to assert in their own right (whether
individually or collectively) or on behalf of the Holder of any Claim or Equity Interest or other
Entity, based on relating to, or in any manner arising froni, or in connection with, in whole or in
part, (i) the Debtors (including their respective estates); (ii) the Chapter ll Cases; (iii) the subject
matter of, or the transactions or events giving rise to, any Claim or Equity Interest that is the
subject of the Plans; (iv) the business or contractual arrangements between the Debtors and any
Released Party (including the ROFR); (v) the restructuring of any Debtors or JQH Non-Debtor

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Entities; (vi) the restructuring of Claims and Equity Interests prior to or in the Chapter ll Cases;
(vii) the negotiation, formulation, or preparation of the Plans and the Disclosure Statement, Plans
Documents or other agreements, instruments or documents relating to the Plans; (viii) the subject
matter of the Delaware Litigation; or (ix) the probate estates of John Q. Hammons and Juanita
Hammons. Notwithstanding anything to the contrary in the Plans, the foregoing release does not
release any obligations of any Entity under the Plans or any Plans Documents executed to
consummate any Plan Transactions, or other agreement, instrument or documents executed to
implement the Plans.

E. Exculpati`on

Except as otherwise specifically provided in the Plans, no Exculpated Party shall be
responsible or have any liability for, and each Exculpated Party is hereby released and
exculpated from, any claim, Cause of Action, duty, obligation, liability, damage, loss, cost or
expense for (i) any act taken or not taken in connection with, or related to, formulating,
negotiating, preparing, disseminating, implementing, administering, confirrning, or effecting the
Disclosure Statement, Plans, Confirmation, Plans Transactions, the Plans, or any Plan
Documents or other agreement, document, instrument or release created or entered into in
connection with the Plans; (ii) any act taken or not taken in connection with, or related to, the
negotiation of Cure Costs; (iii) any act taken or not taken in connection with, or related to, the
amendment, assuniption, assumption and assignment, or rejection of Executory Contracts or
Unexpired Leases; or (iv) any other prepetition or post-petition act taken or not taken in
connection with, or related to, the restructuring of the Debtor, except for (A) willful misconduct
(including fraud), (B) the rights of any Entity to enforce the Plans and the Plans Documents, or
(C) the rights of any Entity to enforce any Final Order, but in all respects such Exculpated Parties
shall be entitled to reasonably rely upon the advice of counsel with respect to their duties,
responsibilities and obligations under the Plans or any Final Order.

F. Dismi'ssal ofDelcrware Liti'gati`on

Upon consummation of the Sale of the 27 hotels being financed by the Sale Lender,
Debtors and JD Holdings shall, and shall cause their Affiliates, and Debtors shall cause the estate
of John Q. Hammons, to take all such actions necessary to dismiss the Delaware Litigation and
all pending appeals in the Chapter l l Cases, with prejudice to all parties thereto.

G. Thi'rd Party Releases by Holders ofClai'ms and Equity Interests

Except as otherwise specifically provided in the Plans, on and after the Effective Date,
(l) each present and former Holder of a Claim or Equity Interest (other than JD Holdings and its
Affiliates), and each of their respective Affiliates, and each of the foregoing Entities’ respective
current and former shareholders, members (including ex-officio members), partners, directors,
principals, managers, officers, trustees, beneficiaries (including undesignated beneficiaries),
donees, employees, attorneys, financial advisors, accountants, investment bankers, investment
advisors, actuaries, professionals, consultants, agents, and representatives, and the predecessors,
successors and assigns of each of the foregoing (in each case, in his, her, or its capacity as such,
a “Third-Partv Releasing Partv”) shall be deemed to have conclusively, absolutely,
unconditionally, irrevocably, fully and forever released and discharged the JD Holdings Released

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Parties, the Debtors Released Parties, and the Trustees Released Parties from any and all claims,
interests, obligations, rights, suits, damages, Causes of Action, remedies, and liabilities
Whatsoever, whether known or unknown, foreseen or unforeseen, existing or hereafter arising, in
law, equity or otherwise, whether for tort, contract, violations of any federal, state or other laws
or otherwise, that each Third-Party Releasing Party have asserted, could have asserted or might
be entitled to assert (whether individually or collectively), based on or relating to, or in any
manner arising from, or in connection with, in whole or in part, (i) the Debtors; (ii) the Chapter
ll Cases; (iii) the subject matter of, or the transactions or events giving rise to, any Claim or
Equity Interest that is the subject of the Plans; (iv) the business or contractual arrangements
between the Debtors and any Released Party; (v) the restructuring of any Debtors or JQH Non-
Debtor Entities; (vi) the restructuring of Claims or Equity Interests prior to or in the Chapter ll
Cases; (vii) the negotiation, formulation, or preparation of the Plans and the Disclosure
Statement, Plan Documents or other agreements, instruments, or documents relating to the Plans;
(viii) any act taken or not taken in connection with, or related to, the negotiation of Cure Costs;
(ix) the amendment, assumption, assumption and assignment, or rejection of Executory Contracts
or Unexpired Leases; (x) the probate estates of John Q. Hammons and Juanita Hammons; and
(xi) any other act or omission, transaction, agreement, event, or other occurrence taking place on
or before the Effective Date

H. Preservafi`on, Transj%r, and Wai`ver ofRi`ghts ofAcz‘ion

_ All rights to commence and pursue any and all Causes of Action, whether arising before,
on or after the Petition Date, including the Debtors’ right to commence, prosecute, or settle such
Causes of Action, shall be transferred to Il) Holdings on the Effective Date, and JD Holdings
thereafter shall commence, prosecute, terminate, or settle such Causes of Action in its sole
discretion If any Causes of Action cannot be transferred to JD Holdings under applicable law,
such Causes of Action shall be retained by the Debtors notwithstanding the occurrence of the
Effective Date, and Debtors shall commence, prosecute, terminate or settle such Causes of
Action solely at JD Holdings’ direction, in JD Holdings’ sole discretion, and at JD Holdings’
expense

ARTICLE IX.
TREATMENT OF EXECUTORY CONTRACTS AND UNEXPIRED LEASES

A. Assumpti`on ofExecutory Contracts and Unexpired Leases

JD Holdings shall have until the Effective Date to identify the Rejected Executory
Contracts and Unexpired Leases. Any Assumed Agreements not identified as Rejected
Executory Contracts and Unexpired Leases shall be assumed and assigned to .lD Holdings as of
the Effective Date

Non-Debtor parties to the Assumed Agreements shall File, within twenty (20) days
following the Effective Date, a proposed amount of the Cure Costs, and the assumption and

assignment of such Assumed Agreement may be conditioned upon the disposition of all issues
with respect to such Cure Costs.

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B. Rejecti`on of Execntory Contracts and Unexpired Leases

All Rejected Executory Contracts and Unexpired Leases shall be deemed rejected on the
Effective Date, except for those Executory Contracts and Unexpired Leases that have been
assumed or rejected pursuant to an order of the Bankruptcy Court entered prior to the Effective
Date

Non-Debtor parties to Rejected Executory Contracts and Unexpired Leases shall have the
right to assert a Claim on account of the rejection of such Rejected Executory Contracts and
Unexpired Leases, including under section 502(g) of the Bankruptcy Code, which shall be Filed
within twenty (20) days after the Effective Date.

AR'I`ICLE X.
PROCEDURES FOR RESOLVING CONTINGENT, UNLIQUIDATEI),
AND DISPUTED CLAIMS AND DISPUTED EQUITY INTERESTS

A. Allowance ofClafins and Equity Interests

After the Effective Date, .lD Holdings shall have and retain all rights, claims and defenses
that the Debtors had with respect to any Claim or Equity Interest immediately prior to the
Effective Date. Except as expressly provided herein, no Claim or Equity Interest shall become
Allowed unless and until such Claim or Equity interest is deemed Allowed under Section l.A.S
hereof or the Bankruptcy Code.

B. Admi`ni`strati'on ofClai`ins and Equity Interests

Except as otherwise provided in the Plans, after the Effective Date, JD Holdings shall
have the sole and exclusive right and authority to (l) File, withdraw, or litigate to judgment,
objections to Claims and Equity lnterests, (2) settle or compromise any disputed Claim or Equity
Interest without any further notice to, or action, ordei', or approval of, the Bankruptcy Court or
any other Entity, and (3) administer and adjust the Claims Register to reflect any such
settlements or compromises without any further notice to, or action, ordei', or approval of, the
Bankruptcy Court or any other Entity.

C. Interest

Unless otherwise (l) specifically provided for in the Plans or the Confirmation Order,
(2) agreed to in writing by JD Holdings, or (3) allowed pursuant to Court order, post-petition
interest shall not accrue or be paid on any Claims, and no Holder of a Claim shall be entitled to
interest accruing on or after the Petition Date on any Claim. Additionally, and without limiting
the foregoing, and except as otherwise set forth in the Plans or the Confirmation Order, if any
Disputed Claim becomes an Allowed Claim, interest shall not accrue or be paid on such disputed
portion of such Disputed Claim with respect to the period from the Effective Date to the date a
final Plans Distribution is made on account of such Disputed Claim unless otherwise (l)
specifically provided for in the Plans or the Confirmation Order, (2) agreed to in writing by ID
Holdings, or (3) allowed pursuant to Court order.

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D. Deadli'ne to File Objections to Claims
Any objections to any Claims shall be Filed no later than the Claims Objection Bar Date.
E. New Claims andAinendmenis to Claims

A Claim may not be Filed or amended after the Confirmation Hearing commences
without the prior authorization of the Bankruptcy Court or JD Holdings, and any such new or
amended Claim Filed without such authorization shall be deemed Disallowed in full and
expunged without any further notice to, or action, order, or approval of, the Bankruptcy Court or
any other Entity.

ARTICLE XI.
MODIFICATION, AMENDMENT, REVOCATION OR WITHI)RAWAL OF PLANS

A. Modi`j‘icari'cn and Aniendnients

Except as otherwise specifically provided in the Plans, JD Holdings reserves the right to
modify or amend the Plans prior to the Confirmation Date as to material terms and to seek
Confirmation as modified or amended consistent with the Bankruptcy Code, provided, however,
that such modifications or amendments shall not be inconsistent with the terms and conditions of
the PSA and Settlement Agreement.

B. Ejjfect of Confirmation on Modifi`cdn'ons and Amendments

The entry of a Confirmation Order shall mean that all modifications or amendments to
the Plans since the solicitation of approval for such Plans are approved pursuant to section
l l27(a) of the Bankruptcy Code and do not require additional disclosure or re-solicitation under
Bankruptcy Rule 3019.

C. Revocafi`on or Withdrawnl ofPlans

JD Holdings reserves the right to revoke or withdraw the Plans prior to the Confirmation
Date and to File subsequent chapter ll plans, provided that such plans shall not be inconsistent
With the terms and conditions of the PSA and Settlement Agreement.

ARTICLE XII.
RETENTION OF JURISDICTION

The Bankruptcy Court would retain any jurisdiction it has to the maximum extent
possible to interpret the Plans, its Confirmation Order, the PSA, and the Settlement Agreement,
and all matters relating thereto.

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ARTICLE XIII.
MISCELLANEOUS PROVISIONS

A. Addi'ti'onal Documents

jD Holdings shall File the Plans Supplement no later than seven (7) days before the
Confirmation Hearing. The Plans Supplement shall include such agreements and other
documents as may be necessary or appropriate to effectuate and further evidence the terms of the
Plans.

B. Reservati'on ofRi'ghts

Except as expressly set forth in the Plans, the Plans shall have no force or effect unless
the Bankruptcy Court shall have entered the Confirmation Order. None of the Filing of the Plans,
any statement or provision in the Plans, or the taking of any action by the Debtors or JD
Holdings with respect to the Plans or the Disclosure Statement, shall be or shall be deemed to be
an admission or waiver of any rights of lD Holdings or the Debtors with respect to the Holders
of Claims or Equity Interests prior to the Effective Date.

lf any objections to Confirmation are Filed, JD Holdings may choose to pursue
Confirmation and proceed with the Confirmation Hearing as to some Debtors, but not others
upon notice in writing to the Entity making such objection

C. Successors and Assi'gns

Except as expressly set forth in the Plans, the rights, benefits, and obligations of any
Entity named or referred to in the Plans shall be binding on, and shall inure to the benefit of, (i)
any heir, devisee, donee, executor, administrator, guardian of any such individual, and (ii) any
Affiliate of such Entity, and each of the foregoing Entities’ respective shareholders, members,
partners, directors, principals, managers, officers, trustees, beneficiaries, employees, attorneys,
financial advisors, accountants, investment bankers, investment advisors, actuaries,
professionals, consultants, agents, and representatives, and (iii) the predecessors, successors and
assigns or each of the foregoing Entities in clauses (i) and (ii).

D. Servi'ce ofDocnnients

After the Effective Date, any pleading, notice, or other document required by the Plans to
be served on or delivered to:

JD Holdings, shall be served on:

JD Holdings, L.L.C.

1114 rivean Orihe Americas, 39“‘
Floor

New York, New York 10036

Attn: General Counsel

Tel: (212) 730-7211
bcameron@atriumllc.com

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With a copy to:

Jonathan Margolies (MO 30770)
McDowell, Rice, Smith & Buchanan
Skelly Building, Suite 350 (KS Fed
70693)

605 West 47th Street

Kansas City, Missouri 64112

Tel: (816) 753-5400

Fax: (816) 753-9996
jmargolies@mcdowellrice.com

Scott A. Edelman

Jed M. Schwartz

MILBANK, TWEED, HADLEY &
McCLOY LLP

28 Libei'ty Street

New York, NY 10005-1413

Tel: (212) 530-5000

Fax: (212) 530-5219
sedelman@milbank.com
jschwartz@milbank.com

Mark Shinderman

l\/IILBANK, TWEED, HADLEY &
McCLOY LLP

2029 Century Park East

33rd Floor

Los Angeles, CA 90067-30l9

Tel: (424) 386-4000

Fax: (213) 629-5063
mshinderman@milbank.com

The Debtors shall be served on:

Nicholas Zluticky

STINSON LEONARD STREET LLP
1201 Walnut Street

Suite 2900

Kansas City, l\/[issouri 64106

Tel: (816) 691-3278

Fax: (816) 691-3495
nicholas.zluticky@stinson.com

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After the Effective Date, JD Holdings shall have the right to limit the list of Entities
receiving documents pursuant to Bankruptcy Rule 2002 to those Entities that have Filed a
renewed request to receive documents pursuant to Bankruptcy Rule 2002.

E. Entire Agreernent

Except as otherwise indicated, the Plans supersede all previous and contemporaneous
negotiations, promises, covenants, agreements, understandings, and representations on subjects
and matters addressed in the Plans, all of which have become merged and integrated into the
Plans.

F. Non-severabilz`ly ofPldns Provi'si.'ons

If, prior to Confirmation, any term or provision of the Plans is held by the Bankruptcy
Court to be invalid, void, or unenforceable the Bankruptcy Court shall have the power to alter
and interpret such term or provision to make it valid or enforceable to the maximum extent
practicable, consistent with the original purpose and intent of the term or provision held to be
invalid, void, or unenforceable and such term or provision shall then be applicable as altered or
interpreted Notwithstanding any such holding, alteration, or interpretation, the remainder of the
terms and provisions of the Plans shall remain in full force and effect and shall in no way be
affected, impaired, or invalidated by such holding, alteration, or interpretation The Confirmation
Order shall constitute ajudicial determination and shall be deemed to provide that each term and
provision of the Plans, as it may have been altered or interpreted in accordance with the
foregoing, is (l) valid and enforceable pursuant to its terms, (2) integral to the Plans and may not
be deleted or modified without the consent of JD Holdings, and (3) non-severable and mutually
dependent

G. Voi‘es Soli'ci`ted i`n Good Fath

Upon entry of the Confirmation Order, JD Holdings shall be deemed to have solicited
acceptance of the Plans in good faith and in compliance with the Bankruptcy Code.

H Wai'ver or Estoppel

Each Holder of a Claim or Equity Interest shall be deemed to have Waived any right
to assert any argument, including the right to argue that its Claim or Equity Interest
should be Allowed in a certain amount, in a certain priority, Secured, or not subordinated
by virtue of an agreement made With the Debtors or their counsel, if such agreement was
not disclosed in the Plans, the Disclosure Statement, or papers Filed with the Bankruptcy
Court prior to the Confirmation Date.

I. Confli`cts

Except as set forth in the Plans, to the extent that any provision of the Disclosure
Statement, the Plans Supplement, or any other order (other than the Confirmation Order)
referenced iii the Plans (or any exhibits, schedules, appendices supplements or amendments to
any of the foregoing), conflicts with or is in any way inconsistent with any provision of the

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Plans, unless otherwise ordered by the Bankruptcy Court, the portion of the Plans shall govern
and control

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Date: March 30, 2()§8

JD HOLDINGS, L.L.C.

Byf M““

Name: Ronald C. Brown
Title: President

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SCHEDULE l
List of Debtors

ACLOST, LLC

Bricktown Residence Catering Co. Inc.
Chateau Catering Co. Inc.

Chateau Lake, LLC

City Centre Hotel Corporation

Civic Center Redevelopment Corp
Concord Golf Catering Co. Inc.
Concord Hotel Catering Co. Inc.

East Peoria Catering Co. Inc.

Fort Smith Catering Co. Inc.
Franklinerescent Catering Co. Inc.
Glendale Coyotes Catering Co. Inc.
Glendale Coyotes Hotel Catering Co. Inc.
Hammons of Arkansas, LLC
Hammons of Colorado LLC
Hammons of Franklin, LLC
Hammons of Friseo, LLC

Hammons of HuntsvilleJ LLC
Hammons of Lincoln, LLC

Hammons ofNew Mexico, LLC

Hammons of Oklahoma City, LLC

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Hammons of Richardson, LLC

Hammons of Rogers, Inc.

Hammons of Sioux Falls, LLC

Hammons of South Carolina, LLC

Hammons of Tulsa, LLC

Hammons, Inc.

Hampton Catering Co. Inc.

Hot Springs Catering Co. Inc.

I-luntsville Catering, LLC

International Catering Co. Inc.

John Q. Hammons 2015 Loan Holdings, LLC
John Q. Hammons Center, LLC

John Q. Hammons Fall 20()6_, LLC

John Q. Hammons Hotels Development, LLC
John Q. Hammons Hotels Management I Corporation
John Q. Hammons Hotels Management II, L.P.
John Q. Hammons H_otels Management, LLC
Joplin Residence Catering Co. inc.

JQH - Allen Development, LLC

JQH - Concord Development LLC

JQH - East Peoria Development, LLC

JQH - Ft. Smith Development, LLC

JQH - Glendale, AZ Development, LLC

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JQH - Kansas City Development, LLC

JQH - La Vista Conference Center Development, LLC
JQH - La Vista CY Deveioprnent, LLC

JQH - La Vista lIi Developrnent, LLC

JQH - Lake of the Ozarks Development LLC

JQH - Murfreesboro Development, LLC

JQH - Normal Development, LLC

JQH - Norman Development, LLC

JQH - Ol<lahoma City Briclctown Development, LLC
JQH - Olathe Development, LLC

JQH - Pleasant Grove Development LLC

JQH - Rogers Convention Center Development, LLC
JQH - San Marcos Development, LLC

Junction City Catering Co., lnc.

KC Residence Catering Co., Inc.

La Vista CY Catering Co., Inc.

La Vista ES Catering Co., Inc.

Lincoln P Street Catering Co., Inc

Loveland Catering Co., lnc.

Manzano Catering Co., Inc.

Murfreesboro Catering Co., lnc.

Normal Catering Co., inc.

OKC Courtyard Catering Co_., Inc.

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R~Z Operating Co., Inc.

Richardson Renaissanee Catering Co., Inc.

Rogers ES Catering Co., Inc.

SGF-Courtyard Catering Co., Inc.

Sioux Falls Convention/Arena Catering Co., Inc.

St. Charles Catering Co., Inc.

The Revocable Trust of John Q. Hammons dated December
Tulsa/169 Catering Co., Inc.

U.P. Catering Co., Inc.

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SCHEDULE 2
List of JQH Non-Debtor Entities

Allen CY Catering Co., Inc.

Arl<ansas Pinnacle Catering Co., Inc.

Bal<er Smith Jones Inc.

Blue Hill Company

Burger Station, LLC (suceessor in interest to Burger Station, Inc.)

Des Plaines Development Holdings, LLC (suceessor in interest to Des
Plaines Development Ccrporation)

Des Plaines Development Limited Partnership
Eisemann Renaissance Club Company

Frisco Catering Co., Inc.

Harrah’s Joliet Landco LLC

Highland Springs, LLC (successor in interest to l-Iighland Springs
Corporation) `

Highland Springs Country Club, Inc.
Highland Springs Realty, Inc.
John Q. Hammons Accounting Services, LLC

John Q. Hammons Filrn Entertainment, LLC (successor in interest to
John Q. Hammons Fifm Entertainment, Inc.)

John Q. Hammons Industries, inc.

JQH - Springfleld Courthouse, LLC

JQH Industries, LLC (successor in interest to JQH Industries, Inc.)
JQH Springfield Tower, LLC

Plaza Associates Partnership
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Plaza Realty and Management Services, Inc.

REW/JQH Holdings, Inc. (merged into W&H Realty, LLC)
Richardson Renaissance Catering Co., Inc.

San Marcos ES Catering Co§, Inc.

SGF/Residence Catering Co., Inc.

The Tower Club of Springfield, Inc.

Tiffany Greens, LLC (successor in interest to Tiffany Greens, inc.)
'I`»K Enterprises, Inc.

University Plaz.a Redevelopment Corporation

W&H Realty, LLC (successor in interest to W&H Realty Inc.)

Winegardner & Hammons Inc. (merged into W&H Realty, LLC)

Any other Entity in which JQH Trust or any Debtors holds any Equity
Interests in such Entity, but which Entity is not a Debtor

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